Case 23-10467-amc        Doc 22     Filed 08/21/23 Entered 08/21/23 14:53:17              Desc Main
                                    Document     Page 1 of 6



                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:    Blondell G. Turner, Robert 0. Turner        CASE NO.: 23-10467-amc
                           Debtor
           Blondell G. Turner                          CHAPTER 13
                          Co-Debtor
           SN Servicing Corporation as servicer        Judge: Ashely M. Chan
           for U.S. Bank Trust National
           Association as Trustee of the Bungalow      Hearing Date:
           Series IV Trust                             September 13, 2023 at 11:00 AM
           v.
                                                       Objection Deadline:
           Blondell G. Turner, Robert 0. Turner        September 5, 2023
           Scott F. Waterman - Bankruptcy
           Trustee
                         Respondents


                           MOTION FOR RELIEF FROM THE
                        AUTOMATIC STAY AND CO-DEBTOR STAY

       SN Servicing Corporation as servicer for U.S. Bank Trust National Association as Trustee

of the Bungalow Series IV Trust (on behalf of itself and together with any successor and/or assign,

"Movant") hereby moves this Court for an Order (i) pursuant to 11 U.S.C. § 362 (d)(l) and (d)(2);

vacating the automatic stay to permit Movant, its successors and/or assigns, to enforce its mortgage

on the Debtor's premises located at 2632 Lamott Avenue, Willow Grove, PA 19090; vacating the

co-debtor stay in effect pursuant to 11 U.S.C. § 1301(a) and (ii) for such other and further relief as

is just and proper. In support of this Motion, Movant respectfully states:

       1. Movant is the holder of a Note executed by Robert Turner dated March 9, 2007,

whereby the Debtor promised to repay $222,500.00 plus interest to Wilmington Finance Inc. (the

"Original Lender"). To secure the repayment of the Note, Robert Turner and Blondell G. Turner

executed a Mortgage in favor of Mortgage Electronic Registration Systems, Inc. as nominee for

Wilmington Finance Inc. , encumbering the Property commonly known as 2632 Lamott Avenue,
Case 23-10467-amc   Doc 22   Filed 08/21/23 Entered 08/21/23 14:53:17   Desc Main
                             Document     Page 2 of 6
Case 23-10467-amc   Doc 22   Filed 08/21/23 Entered 08/21/23 14:53:17   Desc Main
                             Document     Page 3 of 6
Case 23-10467-amc   Doc 22   Filed 08/21/23 Entered 08/21/23 14:53:17   Desc Main
                             Document     Page 4 of 6
Case 23-10467-amc    Doc 22     Filed 08/21/23 Entered 08/21/23 14:53:17   Desc Main
                                Document     Page 5 of 6




                                                             5




   Angela K. Viale

                                  Bankruptcy Asset Manager




                              Bankruptcy Asset Manager
Case 23-10467-amc   Doc 22   Filed 08/21/23 Entered 08/21/23 14:53:17   Desc Main
                             Document     Page 6 of 6




           18           August




                                     Angela K. Viale
                                     Bankruptcy Asset Manager
